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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                          File No. 1:97-CR-82(26)
v.
                                                          HON. ROBERT HOLMES BELL
RODNEY D. ATKINSON,

              Defendant.
                                              /

                                         ORDER

       By order dated June 6, 2007, this Court denied Defendant Rodney D. Atkinson's

motion for reduction of sentence pursuant to 18 U.S.C. § 3583(c)(2). (Docket # 967). This

Court subsequently denied Defendant's motion for certificate of appealability because

Defendant had not made a substantial showing of the denial of a constitutional right. (Docket

# 975). This matter is now before the Court on Defendant's motion for leave to appeal in

forma pauperis.

       An appeal may not be taken in forma pauperis if the trial court certifies in writing that

it is not taken in good faith. 28 U.S.C. § 1915(a)(3). "Good faith" for purposes of §

1915(a)(3) is judged by an objective standard: a defendant's good faith is demonstrated when

he seeks appellate review of any issue not frivolous. Coppedge v. United States, 369 U.S.

438, 445 (1962). Because Defendant's motion for reduction of sentence was denied on three

legally independent grounds and because Defendant has not made a substantial showing of
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the denial of a constitutional right, the Court concludes that Defendant's appeal is frivolous

and is not taken in good faith. Accordingly,

        IT IS HEREBY ORDERED that Defendant Rodney D. Atkinson's motion for leave

to appeal in forma pauperis (Docket # 980) is DENIED.

        IT IS FURTHER ORDERED that this order be certified to the Court of Appeals for

inclusion in the record on appeal. F ED. R. A PP. P. 3(d) and 22(b).

Date:      July 12, 2007                   /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE
